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                                         U.S. Department of Justice

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                                                   May 11, 2020
BY ECF & EMAIL
Hon. Lorna G. Schofield
United States District Judge
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

        Re:     United States v. Gregory Cohen, 19 Cr. 397 (LGS)

Dear Judge Schofield:

       The Government respectfully submits this letter in opposition to the defendant’s letters
dated May 1, 2020 and May 6, 2020, in which he requests, first, that the Court provide “direct
support” for the defendant to be furloughed, and, second the defendant be released pursuant to
18 U.S.C. § 3582(c).

   I.         FACTUAL BACKGROUND

        The defendant pled guilty pursuant to a plea agreement to one count of wire fraud on
August 5, 2019. The charge in this case arises from a fraudulent scheme in which the defendant
targeted a victim, and conned him out of $200,000. In April 2016, the defendant informed the
victim of a purported investment opportunity involving the defendant’s friend, who was a famous
investment manager. Before April 2016, the defendant had bragged to Victim-1 about his
friendship with the investment manager and even shared with Victim-1 a photograph of Cohen on
the investment manager’s private plane.

        The defendant told Victim-1 that he was purchasing $450,000 of stock from the investment
manager in a private placement transaction. The defendant offered the victim an opportunity to
“loan” him $200,000, which was guaranteed by a promissory note signed by the defendant. The
defendant would make the note returnable within 90 days on demand and pay Victim-1 a
percentage of the defendant’s return on the private placement transaction. The defendant’s
transaction with the investment manager was a lie. In truth, there was no private placement
transaction at all. Cohen used his relationship with the investment manager to engineer a
fraudulent investment “opportunity” and take $200,000 from the victim.

      On November 19, 2019, this Court sentenced the defendant to six-months’ incarceration,
which was below the parties’ stipulated Guidelines range of 15-21 months’ incarceration. The
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defendant surrendered on February 4, 2020, to the prison camp at FCI Otisville and is scheduled
to be released on August 2, 2020.

    II.      ONLY THE BOP MAY PERMIT THE DEFENDANT A PERIOD OF
             FURLOUGH

        To the extent the defendant’s request for “direct support” is construed as a request that this
Court order administrative furlough pursuant to 18 U.S.C. § 3622, it should be denied, as Congress
did not vest the courts with such authority.

        Section 3622 states that “[t]he Bureau of Prisons may release a prisoner from the place of
his imprisonment for a limited period if such release appears to be consistent with the purpose for
which the sentence was imposed . . . if such release otherwise appears to be consistent with the
public interest and if there is reasonable cause to believe that a prisoner will honor the trust to be
imposed in him, by authorizing him, under prescribed conditions, to . . .” engage in one of a series
of specifically listed activities including visiting sick relatives, attending family funerals, or
participating in a work-release program, among others.

        This provision, however, vests sole discretion over any such furloughs with the BOP, as
the legislative history makes plain. See S. Rep. 98-225, at 143 (1983) (“The Committee does not
intend that work release under this subsection be expanded to the extent that it develops into a
device for early release from prison.... [T]emporary release under subsection[ ] ... (c) is within the
discretion of the Bureau of Prisons; there is no absolute right to work release or other outside
privileges.”). Circuit courts are in accord. See e.g., In re Radcliff, No. 12-1444, 2012 WL 5974172
(10th Cir. Nov. 28, 2012) (“The statute could not be clearer as to whom it vests with the authority
to grant temporary release . . . it is up to the BOP, not the district court, to consider whether, in its
discretion, Mr. Radcliff should be granted temporary release under § 3622(a).”).

       Accordingly, this Court lacks authority to provide “direct support,” Def. Letter dated
May 1, 2020, at 1, by ordering furlough under § 3622.

        The Government does not dispute that the Court has the power to make a recommendation
to the BOP with respect to a furlough request. However, the Government notes that the BOP’s
furlough determinations necessarily impact Bureau-wide considerations into which the Court, and
the United States Attorney’s Office for that matter, may not have insight. In this case, the
Government believes that the BOP’s decision denying furlough should be afforded deference
especially because the defendant has not alleged COIVD-19 risk factors recognized by the CDC.
(See Ex. A (May 8, 2020 Mem. Denying Furlough). )

     III.    THE DEFENDANT’S REQUEST FOR COMPASSIONATE RELEASE
             SHOULD BE DENIED

       Under 18 U.S.C. § 3582(c)(1)(A), as amended by the First Step Act, the Court “may not
modify a term of imprisonment once it has been imposed except” as provided by statute. As
relevant here:
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        [T]he court, upon motion of the Director of the Bureau of Prisons, or upon motion
        of the defendant after the defendant has fully exhausted all administrative rights to
        appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf
        or the lapse of 30 days from the receipt of such a request by the warden of the
        defendant’s facility, whichever is earlier, may reduce the term of
        imprisonment . . . after considering the factors set forth in section 3553(a) to the
        extent that they are applicable, if it finds that . . . extraordinary and compelling
        reasons warrant such a reduction . . . and that such a reduction is consistent with
        applicable policy statements issued by the Sentencing Commission . . . .

Id. As described in the Senate Judiciary Committee Report for the initial legislation behind Section
3582(c)(1)(A), this provision is intended to apply “to the unusual case in which the defendant’s
circumstances are so changed, such as by terminal illness, that it would be inequitable to continue
the confinement of the prisoner.” S. Rep. No. 98-225, at 121 (1983).

        A. The Defendant Has Not Exhausted Administrative Remedies

        The statute conditions the possibility of a sentence modification on (i) a motion to the Court
from the BOP or (ii) defendant’s exhaustion of all administrative appeals from the BOP’s refusal
to bring a motion on his behalf or (iii) the lapse of 30 days after such a request by the defendant to
the BOP. Unlike situations in which administrative exhaustion constitutes a prudential overlay
created by the courts that can be waived, the language of Section 3582(c) makes clear that a court
cannot act unless the requirement is satisfied. The statute is clear that unless the enumerated
requirements are met, a court “may not modify a term of imprisonment.” 18 U.S.C. § 3582(c)
(emphasis added). See Poole v. Mukasey, 522 F.3d 259, 263 (2d Cir. 2008) (“Statutory exhaustion
requirements are mandatory, and courts are not free to dispense with them.” (quoting Bastek v.
Fed. Crop Ins., 145 F.3d 90, 94 (2d Cir. 1998))). It is critical, in this context, to note that
§ 3582(c)’s exhaustion requirement is statutory, and thus is not the sort of judicially-crafted
exhaustion requirement that “remain[s] amenable to judge-made exceptions.” Ross v. Blake, 136
S. Ct. 1850, 1857 (2016). By significant contrast, statutory exhaustion requirements “stand[] on
a different footing.” Id. There, “Congress sets the rules—and courts have a role in creating
exceptions only if Congress wants them to.” Id. Thus, where a statute contains mandatory
exhaustion language, the only permissible exceptions are those contained in the statute. Id.

        The defendant claims that the Warden’s assistant acknowledged receipt of his § 3582(c)
application on March 31, 2020. The BOP informs the Government that it did not receive a
compassionate release motion from the defendant until April 14, 2020. (See Ex. B (noting receipt
on April 14, 2020).) On May 11, 2020, the Warden denied the defendant’s request for
compassionate release. The defendant can appeal that decision within the BOP. Thus, as of today,
the defendant has not met the exhaustion requirement set forth in § 3582(c) nor has he satisfied
the other two statutory preconditions to seek a sentence reduction and is therefore ineligible. Those
requirements are mandatory and cannot be excused by the Court. 1 However, because the defendant

1
 The vast majority of courts in this District that have held that the statutory preconditions must be met
and those conditions cannot be excused by a court. See United States v. Hart, 17 Cr. 248 (VSB), 2020
WL 1989299, at *4 (S.D.N.Y. Apr. 27, 2020); United States v. Wright, 17 Cr. 695 (CM), 2020 WL
1922371, at *2 (S.D.N.Y. Apr. 20, 2020); United States v. Demaria, No. 17 Cr. 569 (ER), 2020 WL
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submitted his administrative request no later than April 14, 2020, he will have satisfied the 30-day
waiting period as of May 14, 2020, after which time the Government would agree the Court can
decide this this motion on the merits.

       B. The Defendant’s § 3582(c) Fails on the Merits

           1. Applicable Law

       Although the Sentencing Guidelines are normally only advisory, because the statute
requires the reduction to be “consistent with” the applicable Guidelines policy statements, they
have been incorporated into the statute by reference and are therefore binding prerequisites. See
Dillon v. United States, 560 U.S. 817, 827 (2010); 28 U.S.C. § 994(t); accord, e.g., United States
v. Ebbers, No. 02 Cr. 1144 (VEC), 2020 WL 91399 (S.D.N.Y. Jan. 8, 2020).

       The applicable Sentencing Commission policy statement provides a definition of
“extraordinary and compelling reasons,” see U.S.S.G. § 1B1.13 Application Note 1, and includes
the additional requirement that “the defendant is not a danger to the safety of any other person or
to the community, as provided in 18 U.S.C. § 3142(g) [the Bail Reform Act],” U.S.S.G.
§ 1B1.13(2). In cases in which the asserted ground for compassionate release is the defendant’s
medical condition, “extraordinary and compelling reasons” is defined as follows:

       (A) Medical Condition of the Defendant.—

           (i)     The defendant is suffering from a terminal illness (i.e., a serious and advanced
                   illness with an end of life trajectory). A specific prognosis of life expectancy
                   (i.e., a probability of death within a specific time period) is not required.

1888910, at *4 (S.D.N.Y. Apr. 16, 2020); United States v. Ogarro, No. 18 Cr. 373 (RJS), 2020 WL
1876300, at *3-*5 (S.D.N.Y. Apr. 14, 2020); United States v. Bonventre, 10 Cr. 228 (LTS), 2020 WL
1862638, at *2-*3 (S.D.N.Y. Apr. 14, 2020); United States v. Pereyra-Polanco, 19 Cr. 10 (NRB), 2020
WL 1862639, at *1 (S.D.N.Y. Apr. 14, 2020); United States v. Rabadi, No. 13 Cr. 353 (KMK), 2020
WL 1862640, at *2-*3 (S.D.N.Y. Apr. 14, 2020); United States v. Reese, No. 12 Cr. 629 (VM), 2020
WL 1847552, at *2 (S.D.N.Y. Apr. 13, 2020); United States v. Engleson, 13 Cr. 340 (RJS), 2020 WL
1821797, at *1 (S.D.N.Y. Apr. 10, 2020); United States v. Fana, 19 Cr. 11 (GHW), 2020 WL 1816193,
at *5 (S.D.N.Y. Apr. 10, 2020); United States v. Canale, 17 Cr. 287 (JPO), 2020 WL 1809287, at *2
(S.D.N.Y. Apr. 9, 2020); United States v. Roberts, No. 18 Cr. 528 (JMF), 2020 WL 1700032, at *2
(S.D.N.Y. Apr. 8, 2020); United States v. Ramos, No. 14 Cr. 484 (LGS), 2020 WL 1685812, at *1
(S.D.N.Y. Apr. 7, 2020); United States v. Crosby, No. 09 Cr. 1056 (WHP) (S.D.N.Y. Apr. 7, 2020)
(Tr. of 4/7 conference, at 13); United States v. Woodson, No. 18 Cr. 845 (PKC), 2020 WL 1673253, at
*3 (S.D.N.Y. Apr. 6, 2020); United States v. Arena, No. 18 Cr. 14 (VM) (S.D.N.Y. Apr. 6, 2020) (Dkt.
354 at 2-3); United States v. Hernandez, No. 18 Cr. 834 (PAE), 2020 WL 1445851, at *1 (S.D.N.Y.
Mar. 25, 2020); United States v. Cohen, No. 18 Cr. 602 (WHP), 2020 WL 1428778, at *1 (S.D.N.Y.
Mar. 24, 2020). But see United States v. Scparta, No. 18 Cr. 578 (AJN), 2020 WL 1910481, at *5
(S.D.N.Y. Apr. 20, 2020); United States v. Russo, 16 Cr. 441 (LJL), 2020 WL 1862294, at *7
(S.D.N.Y. Apr. 14, 2020); United States v. Haney, No. 19 Cr. 541 (JSR), 2020 WL 18211988, at *4
(S.D.N.Y. Apr. 13, 2020); United States v. Perez, No. 17 Cr. 513 (AT), 2020 WL 1546422, at *3
(S.D.N.Y. Apr. 1, 2020).
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                   Examples include metastatic solid-tumor cancer, amyotrophic lateral sclerosis
                   (ALS), end-stage organ disease, and advanced dementia.

           (ii)    The defendant is—

                   (I)     suffering from a serious physical or medical condition,

                   (II)    suffering from a serious functional or cognitive impairment, or

                   (III)   experiencing deteriorating physical or mental health because of
                           the aging process,

                   that substantially diminishes the ability of the defendant to provide selfcare
                   within the environment of a correctional facility and from which he or she is
                   not expected to recover.

Id. § 1B1.13 Application Note 1. A catchall provision also allows the Director of the BOP to
determine that “there exists in the defendant’s case an extraordinary and compelling reason other
than, or in combination with, the reasons described in subdivisions (A) through (C).” Id.
Application Note 1(D). But the Director of the BOP has not made such a determination in this
case.

        BOP has adopted a Program Statement establishing more detailed criteria implementing
the above standards governing when it will seek compassionate release on behalf of an inmate. 2
See BOP Program Statement 5050.50, Compassionate Release/Reduction in Sentence: Procedures
for Implementation of 18 U.S.C. §§ 3582(c)(1)(A) and 4205(g), available at
https://www.bop.gov/policy/progstat/5050_050_EN.pdf. While not binding on this Court, the
Program Statement should be given such weight as the Court deems appropriate in light of its
persuasiveness. See Reno v. Koray, 515 U.S. 50, 61 (1995) (BOP program statements, which do
not require notice and comment, are entitled to “some deference” where they reflect a “permissible
construction of the statute” (internal quotation marks omitted)); see generally Skidmore v. Swift &
Co., 323 U.S. 134 (1944); United States v. Mead Corp., 533 U.S. 218 (2001). Where the asserted
grounds for compassionate release is a debilitating medical condition (as opposed to, for example,
a terminal diagnosis), Program Statement 5050.50 requires that (1) the inmate suffers from “an
incurable, progressive illness” or “a debilitating injury from which [the inmate] will not recover,”
and (2) the inmate is either (A) “completely disabled, meaning that the inmate cannot carry on
self-care and is totally confined to a bed or chair,” or (B) “capable of only limited self-care and is
confined to a bed or chair more than 50% of waking hours.” Program Statement 5050.50, at 5.



2
  Prior to adoption of the First Step Act in late 2018, a motion for compassionate release under 18
U.S.C. § 3582(c)(1)(A) could be filed only by the Director of the Bureau of Prisons, so for practical
purposes the Program Statement served as a gateway set of requirements before an inmate could
receive compassionate release. As amended, the statute now permits inmates to file motions for
compassionate release directly with the Court.
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        As the proponent of the motion, the defendant bears the burden of proving “extraordinary
and compelling reasons” exist under the above criteria to justify early release. See United States
v. Butler, 970 F.2d 1017, 1026 (2d Cir. 1992) (“A party with an affirmative goal and presumptive
access to proof on a given issue normally has the burden of proof as to that issue.”).

           2. The Defendant’s Decision to Enter Quarantine Does Not Counsel In favor of Early
              Release

        The primary basis for the defendant’s request to the Court relies on a misapprehension of
the circumstances that led to the defendant’s quarantine at FCI Otisville. The Government has
been advised by FCI Otisville prison camp staff that several weeks ago, in response to
memorandum issued by the Attorney General to contend with the threat of COVID-19, staff
informed all inmates at the camp that they would be considered for a “crisis furlough.” Inmates,
including the defendant, were informed that should they be granted a furlough they would then be
required to be quarantined for 14-days before released and thus, if they chose, they could elect to
begin that 14-day quarantine while their application was under review so that if they are granted
furlough they could be released more quickly.

        On April 17, 2020, the defendant voluntarily elected to quarantine himself while his
furlough request was under review. In connection therewith he signed a crisis furlough application
in which he affirmed that he understood that “if approved” for furlough he would be subject to
certain conditions. That application is attached hereto as Exhibit C. Notably, it is not signed or
approved by the Warden whose authorization is required for furlough approval. (See Ex. C.) FCI
Otisville further advised the Government that, while in quarantine, the defendant had opportunities
each day to communicate to facility staff if he wished to end his voluntary quarantine. Had he
done so, he would have exited the quarantine and returned to general population while his
application was considered. The defendant remained in quarantine.

        The defendant was ultimately returned to the general population on May 6, 2020. His
furlough application was formally denied on May 8, 2020 because, inter alia, he was not
“identified as having risk factors for serious illness as outlined in CDC guidance.” (Ex. A, May
8, 2020 Memorandum denying furlough.)

        There was no guarantee that the defendant would be furloughed following a 14-day
quarantine period. The defendant’s primary argument in favor of release is therefore baseless.
Characterizing the defendant’s election to enter quarantine as exposure to conditions that were
“extraordinarily harsh” is not appropriate. Even if it were not a voluntary choice by the defendant,
while no period of self-isolation is pleasant, it simply does not rise to the level requiring release
under § 3582(c). Indeed, the BOP has informed the Government the defendant was not isolated
in a special housing unit; rather, he was limited to an otherwise empty unit in the facility. While
in that unit the defendant shared a cell with another inmate. Inmates in the quarantined unit were
not restrained while transported to the shower or to use the telephones. The facility further advises
that the defendant made seven phone calls while quarantined. Also, there are no slots on the doors
in the quarantine unit and the defendant is wrong to claim he received his food through a “slot in
a steel door.” (Def. May 1, 2020 letter, at 1.)
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        At bottom, even accepting the characterizations of the defendant’s period of quarantine,
the fact that the defendant was offered an opportunity to be considered for administrative furlough,
but was not, and during a period of approximately 20 days was quarantined, is not an
“extraordinary and compelling reason[]” to order release. Rather, it is an outcome of a BOP
process that was put in place to contend with COVID-19 circumstances and ensure that anyone
released could not infect the public. Further, the defendant should not be permitted to end-run
around § 3622, which precludes courts from ordering the furlough that the defendant sought and
was denied.

               3. The Defendant’s Remaining Arguments Should Be Rejected

        The defendant argues that because he has served 50% of a six-month sentence for his first
offense, which was a non-violent crime, release should be granted. No so. As an initial matter,
this argument is not a reason contemplated by the First Step Act that would justify release. Rather,
as described above, § 3582(c) is reserved for extraordinary and immutable events such as terminal
illness. Completing 50% of sentence, even on a first time offense, is an ordinary event common
among many incarcerated individuals.

        Indeed, the six-month sentence the defendant received is a sentence substantially below the
applicable 15-21 month Guidelines range. Serving 50% of a sentence that varied considerably
below the Guidelines does not equate to the extraordinary remedy of release. The defendant’s
crime was a targeted, brazen and lucrative con in which he stole $200,000 from a victim and caused
that victim significant hardship. For over two-years the victim desperately begged the defendant
for his money back by email, text and phone. The victim’s email message to the defendant on
November 17, 2017—more than a year after his money was stolen—sums up the pain the
defendant caused the victim:

               Please Greg, for my 3 kids and wife, I need you to handle this today
               as planned. I am not overestimatling [sic] the fact that there is no
               back up plan and we will have nowhere to go. Everyone has been in
               tears all weekend. I need you to find it in you[r] heart to do the right
               thing. I will send you the signed paperwork simultaneously [sic].

       The defendant did not repay the victim until after he was arrested in this case, and after he
pled guilty, which was in August 2019. 3

        The COVID-19 pandemic is undoubtedly serious, and the Government is sensitive to the
health concerns and challenges that it poses. However, the mere existence of the pandemic and
generalized arguments about its risks cannot, and do not, warrant the extraordinary remedy of
compassionate release. See United States v. Raia, 954 F.3d 594 (3d Cir. 2020) (“We do not mean
to minimize the risks that COVID-19 poses in the federal prison system . . . . But the mere existence
of COVID-19 in society and the possibility that it may spread to a particular prison alone cannot

3
  Pursuant to its obligations under the Crime Victims’ Rights statute, 18 U.S.C. § 3771, the victim
in this case has been notified about the defendant’s motion. The Government will share with the
Court the victim’s view on the application if the victim elects to provide one to the Government.
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      IV. Conclusion

         The defendant’s motion should be denied.


                                                       Respectfully submitted,

                                                       GEOFFREY S. BERMAN
                                                       United States Attorney


                                                 By:                    /s/
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cc:         Peter Levy, Esq.
            Damian P. Conforti, Esq.




governs when the United States Sentencing Commission has retroactively lowered a Sentencing
Guidelines range; if certain requirements are met, a court “may reduce the term of imprisonment”
imposed on such a defendant. In that context, the Supreme Court has explained that a court’s
authority under Section 3582(c)(2) is “limited” to the power to “reduce” a term of imprisonment.
Dillon v. United States, 560 U.S. 817, 825 (2010). “By its terms, § 3582(c)(2) does not authorize
a sentencing or resentencing proceeding. Instead, it provides for the modification of a term of
imprisonment by giving courts the power to ‘reduce’ an otherwise final sentence in circumstances
specified by the Commission.” Id. (internal quotation marks and alterations omitted); see United
States v. Urso, 2019 WL 5423431, at *1 (E.D.N.Y. Oct. 23, 2019) (holding that Section 3582(c)
“authorizes the court to modify a term of imprisonment, it does not authorize the court to alter the
method of incarceration.”).
